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U.S. Department of Justice

Channing D. Phillips
Acting United States Attorney

 

District of Columbia

 

Judiciary Center
555 Fourth St, NW.
Washington, D.C. 20530

April 14, 2021
Tony Miles
Assistant Federal Public Defender
625 Indiana Avenue, N.W.
Washington, DC 20004

Re: United States v. Jerome Williams
Criminal Case No. 21-CR-249 (KBJ)

 

Dear Counsel,

This letter sets forth the full and complete plea offer to your client, Jerome Williams
(hereinafter referred to as “your client” or “defendant’), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on May 17, 2021. If your client accepts the terms and conditions
of this offer, please have your client execute this document in the space provided below. Upon
receipt of the executed document, this letter will become the Plea Agreement (hereinafter referred
to as “this Agreement”). The terms of the offer are as follows:

l. Charges and Statutory Penalties

Your client agrees to plead guilty to the sole count of the pending Information, charging
your client with Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a Term Exceeding One Year in violation of 18 U.S.C. §

922(g)(1).

Your client understands that a violation of 18 U.S.C. § 922(g)(1) carries a maximum
sentence of 10 years of imprisonment, a fine of $250,000, or both; a term of supervised release of
not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable
interest or penalties on fines not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to
the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the

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costs of any imprisonment, term of supervised release, and period of probation. Further, your client
understands that, if your client has two or more convictions for a crime of violence or felony drug
offense, your client may be subject to the substantially higher penalties provided for in the career-
offender statutes and provisions of the Sentencing Guidelines.

Ze Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately describes
your client’s actions and involvement in the offense to which your client is pleading guilty. Please
have your client sign and return the Statement of Offense as a written proffer of evidence, along
with this Agreement.

3. Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the Sentencing
Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court in
determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines
The parties agree that the following Sentencing Guidelines sections apply:

U.S.S.G. § 2K2.1(a)(4)(A) Base Offense Level 20

Acceptance of Responsibility
Acceptance of Responsibility:

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3EI1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional |-level reduction will be appropriate, pursuant to U.S.S.G §
3E1.1(b), because your client has assisted authorities by providing timely notice of your client’s
intention to enter a plea of guilty, thereby permitting the Government to avoid preparing for trial
and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of an
adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any agreement
set forth above, should your client move to withdraw your client’s guilty plea after it is entered, or
should it be determined by the Government that your client has either (a) engaged in conduct,

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unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

In accordance with the above, the applicable Guidelines Offense Level will be at least 17.

B. Estimated Criminal History Category

Based upon the information now available to this Office, including the Pretrial Services
Report, your client has at least the following criminal convictions:

 

 

Poss W/I to Dist. a Controlled
Substance Heroin

3/09/2018

Arrest Date Jurisdiction Docket Number
2/5/2016 Washington, D.C. 2016-CF2-001771
Charge(s) Disposition/Sentence Date Disposition

Confinement 18 Months, 14 Months
Suspended; Supervised Probation | Year;
VVCCA $100.00;

 

 

Assualt 2™ Degree

07/26/2012

Poss W/I to Dist. a Controlled 3/09/2018 Confinement 18 Months, 14 Months
Substance Cocaine Suspended; Supervised Probation I Year;
VVCCA $100.00;
Arrest Date Jurisdiction Docket Number
9/16/2011 Prince George's County, MD CT111556X
Charge(s) Disposition/Sentence Date Disposition

Incarceration: 10 years; 5 years
Suspended/Supervised Probation: 5 years/
$145 Court Costs

 

 

Burglary—Fourth Degree

06/04/2010

Arrest Date Jurisdiction Docket Number
5/6/2010 Prince George's County, MD 2E003 17900
Charge(s) Disposition/Sentence Date Disposition

2 Years & 287 Days Confinement/
2 Years & | Day Supervised Probation

 

 

Poss Prohibited Weapon

06/24/2008

Arrest Date Jurisdiction Docket Number
12/30/2006 Washington, D.C. 2006-CF3-028845
Charge(s) Disposition/Sentence Date Disposition

Confinement | Year; VVCCA $100.00;

 

 

Breaking & Entering

04/09/2002

Simple Assault 06/24/2008 Confinement 180 Days; Supervised
Probation 2 Years; VVCCA $100.00;
Arrest Date Jurisdiction Docket Number
3/20/2002 Columbus County, NC Not available
Charge(s) Disposition/Sentence Date Disposition

Confinement: 120 Days/
Supervised Probation: 24 Months/
Restitution: $700

Court Cost: $240

 

 

Burglary 2"° Degree

 

 

11/15/2000

 

Arrest Date Jurisdiction Docket Number
11/15/2000 Horry County, SC Not available
Charge(s) Disposition/Sentence Date Disposition

Confinement: 3 Years

 

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Arrest Date Jurisdiction Docket Number
11/19/1998 Columbus County, NC Not available
Charge(s) Disposition/Sentence Date Disposition
Breaking & Entering 02/11/1999 6-8 Months Confinement/

30 Months Supervised Probation/
$651 Restitution’ $391 Court Cost

 

 

Arrest Date Jurisdiction Docket Number
04/27/1998 Whiteville, NC Not available
Charge(s) Disposition/Sentence Date Disposition
Larceny 05/06/1998 Incarceration Confinement: 30 days/

Probation: 6 Months Unsupervised/
Court Cost: $135.00

 

 

 

 

 

Accordingly, your client is estimated to have 8 criminal history points and your client’s
Criminal History Category is estimated to be IV(the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

GC, Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category set
forth above, your client’s estimated Sentencing Guidelines Range is 37 months to 46 months (the
“Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G. § 5E1.2,
should the Court impose a fine, at Guidelines level 17, the estimated applicable fine range is
$10,000 to $95,000. Your client reserves the right to ask the Court not to impose any applicable
fine.

The parties agree that, solely for the purposes of calculating the applicable range under the
Sentencing Guidelines, neither a downward nor upward departure from the Estimated Guidelines
Range set forth above is warranted. Except as provided for in the “Reservation of Allocution”
section below, the parties also agree that neither party will seek any offense-level calculation
different from the Estimated Offense Level calculated above in subsection A. However, the parties
are free to argue for a Criminal History Category different from that estimated above in subsection
B.

Your client understands and acknowledges that the Estimated Guidelines Range calculated
above is not binding on the Probation Office or the Court. Should the Court or Probation Office
determine that a guidelines range different from the Estimated Guidelines Range is applicable, that
will not be a basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the

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Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

4, Agreement as to Sentencing Allocution

In light of your client’s prompt acceptance of the plea offer in this case, including waiving
any pretrial motions, the government agrees to allocute for a sentence at 25 percent below the
bottom of the Guidelines range, as calculated by the Court. The parties further agree that a sentence
within the Estimated Guidelines Range would constitute a reasonable sentence in light of all of the
factors set forth in 18 U.S.C. § 3553(a), should such a sentence be subject to appellate review
notwithstanding the appeal waiver provided below. Nevertheless, your client reserves the right to
seek a sentence below the Estimated Guidelines Range based upon factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a).

5) Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct, including
any misconduct not described in the charges to which your client is pleading guilty. The parties
also reserve the right to inform the presentence report writer and the Court of any relevant facts,
to dispute any factual inaccuracies in the presentence report, and to contest any matters not
provided for in this Agreement. In the event that the Court considers any Sentencing Guidelines
adjustments, departures, or calculations different from those agreed to and/or estimated in this
Agreement, or contemplates a sentence outside the Guidelines range based upon the general
sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related
inquiries from the Court and to allocute for a sentence within the Guidelines range, as ultimately
determined by the Court, even if the Guidelines range ultimately determined by the Court is
different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of allocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

6. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

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Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence,
which may be greater than the applicable Guidelines range. The Government cannot, and does not,
make any promise or representation as to what sentence your client will receive. Moreover, it is
understood that your client will have no right to withdraw your client’s plea of guilty should the
Court impose a sentence that is outside the Guidelines range or if the Court does not follow the
Government’s sentencing recommendation. The Government and your client will be bound by this
Agreement, regardless of the sentence imposed by the Court. Any effort by your client to withdraw
the guilty plea because of the length of the sentence shall constitute a breach of this Agreement.

Ts Conditions of Release

Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct prior
to sentencing or if the Government obtains information that it did not possess at the time of your
client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a danger
to any person or the community. Your client also agrees that any violation of your client’s release
conditions or any misconduct by your client may result in the Government filing an ex parte motion
with the Court requesting that a bench warrant be issued for your client’s arrest and that your client
be detained without bond while pending sentencing in your client’s case.

8. Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement or reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

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Cc, Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your client
agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine
witnesses against your client, to challenge the admissibility of evidence offered against your client,
to compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client’s behalf, and to choose whether to testify. If there were a jury trial and your client chose not
to testify at that trial, your client would have the right to have the jury instructed that your client’s
failure to testify could not be held against your client. Your client would further have the right to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client’s guilt beyond a reasonable doubt. If
your client were found guilty after a trial, your client would have the right to appeal your client’s
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements in a criminal prosecution.
By entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule | 1(f) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course of plea discussions or plea proceedings if a guilty
plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client’s guilty plea or withdraws from this
Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
by the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

D. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claim(s) that (1) the statute(s)
to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct does not
fall within the scope of the statute(s). Your client understands that federal law, specifically 18
U.S.C. § 3742, affords defendants the right to appeal their sentences in certain circumstances. Your
client also agrees to waive the right to appeal the sentence in this case, including but not limited to
any term of imprisonment, fine, forfeiture, award of restitution, term or condition of supervised
release, authority of the Court to set conditions of release, and the manner in which the sentence
was determined, except to the extent the Court sentences your client above the statutory maximum
or guidelines range determined by the Court. In agreeing to this waiver, your client is aware that
your client’s sentence has yet to be determined by the Court. Realizing the uncertainty in

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estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement to
waive the right to appeal the conviction and sentence, your client retains the right to appeal on the
basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.

E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

F, Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, pursuant to the CARES Act, Section 15002(b)(4) and
otherwise, to hold any proceedings in this matter — specifically including but not limited to
presentment, initial appearance, plea hearing, and sentencing — by video teleconference and/or by
teleconference and to waive any rights to demand an in-person/in-Court hearing. Your client
further agrees to not challenge or contest any findings by the Court that it may properly proceed
by video teleconferencing and/or telephone conferencing in this case because, due to the COVID-
19 pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and safety and that further there are specific reasons in this case that
any such hearing, including a plea or sentencing hearing, cannot be further delayed without serious
harm to the interests of justice.

9. Forfeiture/Abandonment

The government and your client hereby agree that the following items seized from your
client on June 2, 2020, and currently in the custody and/or control of the Metropolitan Police
Department, were properly seized and were involved in or used in violation of federal law by your
client: a Hi Point, model C-9 .9 millimeter semiautomatic firearm with serial number of P1461119.
At the time it was recovered, the firearm was loaded with one (1) round in the chamber and nine
(9) rounds in the magazine.

Your client agrees that that these items are subject to seizure and forfeiture by the United
States and that no defense exists to the seizure and forfeiture of this property by the United States.
As such, the defendant hereby relinquishes all claim, title, and interest he has in the above-
referenced property to the United States of America and for the District of Columbia and agrees
not to oppose any civil, administrative, or judicial forfeiture of the property. The defendant agrees
that he will not file a claim to this property and withdraws any claim for the property that he may
have filed. The defendant knowingly and voluntarily waives any right to timely notice provided

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for in 18 U.S.C. § 983. In the event that the law enforcement agency having custody of the property
decides not to pursue forfeiture of the property, the defendant hereby consents to abandon it and/or
consents its destruction by the law enforcement agency. The defendant certifies that he is the sole
owner of the property listed above, and that no one else has an ownership interest in this property.
The defendant further waives any right he has to transfer the above-referenced property to a third-

party.

The defendant agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture carried out in accordance with this
plea agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.

10. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of such a breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes, including
perjury and obstruction of justice; and (d) the Government will be free to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any of the information or materials provided by your client, including such statements, information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as “off-the-record” debriefings, and including your client’s statements
made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure.

Your client understands and agrees that the Government shall be required to prove a breach
of this Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your client’s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client’s guilty plea.

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EL: Complete Agreement

No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements.
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney’s Office for the District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney’s
Office, nor does it bind any other state, local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by

signing this Agreement and the Statement of Offense, and returning both to me no later than May
17, 2021.

Sincerely yours,

—_ Phattspy ea

Channing). Phillips

Acting c VA.

‘saul
Assista ani States Attorney

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DEFENDANT'S ACCEPTANCE

| have read every page of this Agreement and have discussed it with my attorney. I fully
understand this Agreement and agree to it without reservation. | do this voluntarily and of my own
free will, intending to be legally bound. No threats have been made to me nor am | under the
influence of anything that could impede my ability to understand this Agreement fully. 1 am
pleading guilty because I am in fact guilty of the offense(s) identified in this Agreement.

| reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth in
this Agreement. I am satisfied with the legal services provided by my attorney in connection with
this Agreement and matters related to it.

Gat jo- d! Oe, LLpes

Jerome Williams _
Defendant

ATTORNEY’S ACKNOWLEDGMENT

| have read every page of this Agreement, reviewed this Agreement with my client, Jerome
Williams and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. | concur in my client's desire to plead
guilty as set forth in this Agreement.

Date: [30 Jaor

 

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